

Matter of Javier S. (Kristy K.) (2024 NY Slip Op 02637)





Matter of Javier S. (Kristy K.)


2024 NY Slip Op 02637


Decided on May 10, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 10, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, DELCONTE, AND HANNAH, JJ.


318 CAF 22-01709

[*1]IN THE MATTER OF JAVIER S. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; KRISTY K., RESPONDENT, AND RENE G., RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






LAW OFFICE OF VERONICA REED, SCHENECTADY (VERONICA REED OF COUNSEL), FOR RESPONDENT-APPELLANT.
JACQUELINE MOHRMAN, BATH, FOR PETITIONER-RESPONDENT.
MARY HOPE BENEDICT, BATH, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Steuben County (Philip J. Roche, J.), entered October 13, 2022, in a proceeding pursuant to Family Court Act article 10. The order, insofar as appealed from, determined that respondent Rene G. had neglected the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Antonio S. (Rene G.) ([appeal No. 1] — AD3d — [May 10, 2024] [4th Dept 2024]).
Entered: May 10, 2024
Ann Dillon Flynn
Clerk of the Court








